        Case 18-10144-amc                       Doc 53         Filed 01/30/23 Entered 01/30/23 11:33:25                     Desc Main
     Fill in this information to identify the case:            Document Page 1 of 3
     Debtor 1              PANKAJ N KAMDAR


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Eastern District of Pennsylvania
                                                                                    (State)
     Case Number:          18-10144-AMC




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  FLAGSTAR BANK                                                             4

 Last 4 digits of any number you use to identify the debtor's account                         6   4   5   2

 Property Address:                              3717 KINGSTON WAY
                                                BENSALEM, PA 19020




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                            Amount

 a. Allowed prepetition arrearage:                                                                                    (a)   $        791.56

     b. Prepetition arrearage paid by the trustee :                                                                   (b)   $        791.56

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):               (c)   $           -0-

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)                (d)   $           -0-
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                               (e)   $           -0-

 f.       Postpetition arrearage paid by the trustee :                                                              + (f)   $           -0-

     g. Total. Add lines b, d, and f.                                                                                 (g)   $        791.56



 Part 3:             Postpetition Mortgage Payment

 Check one

 ¨ Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                   $
         The next postpetition payment is due on                    /    /
                                                                MM / DD / YYYY

 ý Mortgage is paid directly by the debtor(s).


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Debtor 1     PANKAJ N KAMDAR                                                  Case number   (if known)   18-10144-AMC
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Scott F. Waterman
                    Signature
                                                                                 Date    01/30/2023


 Trustee            Scott F. Waterman

 Address            2901 St. Lawrence Avenue, Suite 100
                    Reading, PA 19606



 Contact phone      (610) 779-1313                                Email   info@ReadingCh13.com




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Debtor 1     PANKAJ N KAMDAR                                            Case number   (if known)   18-10144-AMC
             Name




History Of Payments
Part 2 - B
Claim ID Name                    Creditor Type               Date       Check # Posting Description                     Amount
4        QUICKEN LOANS INC       Pre-Petition Arrears        11/20/2018 1059339 Disbursement To Creditor/Principal       791.56
                                                                                     Total for Part 2 - B:               791.56




Form 4100N                                   Notice of Final Cure Payment                                                page 3
